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11 Michael MacBeane
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13
14                       UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                                WESTERN DIVISION

17
18 Michael MacBeane,                          Case No.: 2:10-cv-03901-RGK -AJW
19
                Plaintiff,                    NOTICE OF SETTLEMENT
20
21         vs.
22 Portfolio Recovery Associates, L.L.C.;
23 and DOES 1-10, inclusive,
24                  Defendants.
25
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      2:10-cv-03901-RGK –AJW                              NOTICE OF SETTLEMENT
     Case 2:10-cv-03901-RGK-AJW Document 4 Filed 06/08/10 Page 2 of 2 Page ID #:22



 1         PLEASE TAKE NOTICE that the parties in the above-entitled action have
 2
     reached a settlement. The Plaintiff anticipates filing a dismissal with prejudice
 3
 4 within thirty (30) days.
 5
 6
 7 DATED: June 7, 2010                             LARA SHAPIRO
 8
 9
10                                                 By: /s/ Lara R. Shapiro
                                                   Lara R. Shapiro
11
12                                                 Attorney for Plaintiff
                                                   Michael MacBeane
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      2:10-cv-03901-RGK –AJW                                       NOTICE OF SETTLEMENT
